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                            EXHIBIT D
                            to the Complaint in

                       Sun Valley Orchards, LLC
                                    v.
                     U.S. Department of Labor and
                Martin J. Walsh, in his official capacity as
                         U.S. Secretary of Labor
Case 1:21-cv-16625-JHR-MJS Document 1-5 Filed 09/08/21 Page 2 of 3 PageID: 123

U.S. Department of Labor                     201 Varick Street, Room 983
Office of the Solicitor                      New York, NY 10014
                                             Fax:    (646) 264-3660

                Reply to the Attention of:   Jason E. Glick, Esq.
                                             (646) 264-3687 (direct dial)
                                             glick.jason.e@dol.gov

Via e-mail

August 10, 2021

Christopher J. Schulte, Esq.
Smith, Gambrell & Russell, LLP
1055 Thomas Jefferson Street NW, Suite 400
Washington, DC 20007
cschulte@sgrlaw.com

Dear Mr. Schulte:

Re:      In the Matter of: Administrator, Wage and Hour Division v. Sun Valley Orchards, LLC
         (ARB Case No. 2020-0018, ALJ Case No. 2017-TAE-00003)

On May 27, 2021, the Administrative Review Board of the U.S. Department of Labor fully
affirmed Judge Timlin’s Decision and Order finding Respondent Sun Valley Orchards liable for
the payment of $344,945.80 in back wages and $211,800 in civil money penalties. Please note that
interest is currently accruing.

Respondent must now follow the instructions below to make prompt payment.

      1. To pay the back wages:
            a. Visit https://pay.gov/public/form/start/77689032 or go to http://www.pay.gov/ and
                search for WHDBWNE.
            b. Select “Continue to Form” and complete the required fields.
            c. The “BW Case Number” is 1765359.
            d. The “Date of Assessment” is May 27, 2021.

      2. To pay the CMPs:
            a. Visit https://pay.gov/public/form/start/77734139 or go to http://www.pay.gov/ and
                search for WHDCMPNE.
            b. Select “Continue to Form” and complete the required fields.
            c. The “BW Case Number” is 1765359.
            d. The “Date of Assessment” is May 27, 2021.
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If Respondent does not make full payment by September 10, 2021, the Administrator intends to
take appropriate steps, including referral for debt collection or litigation. Thank you for your
attention to this matter.

Sincerely,

Jeffrey S. Rogoff
Regional Solicitor


By:    -/s/
        Jacob Heyman-Kantor
        Jason Glick
        Trial Attorneys




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